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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                                 EASTERN DIVISION


    THE RELIGIOUS SISTERS OF MERCY,
         et al.,

                        Plaintiffs,

                 v.                                    No. 3:16-cv-386

    ALEX M. AZAR II, Secretary of the
         United States Department of Health
         and Human Services, et al.,

                        Defendants.


    CATHOLIC BENEFITS ASSOCIATION,
        et al.,

                        Plaintiffs,

                 v.                                    No. 3:16-cv-432

    ALEX M. AZAR II, Secretary of the
         United States Department of Health
         and Human Services, et al.,

                        Defendants.



                                      STATUS REPORT

         In response to this Court’s August 24, 2017 Order, ECF No. 56, Defendants hereby

provide the following update “concerning all rulemaking proceedings initiated as to the

challenged rule as well as any contemplated enforcement actions.” ECF No. 56 at 3.1 See also




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  Pursuant to Fed. R. Civ.P. 25(d), Alex M. Azar II is substituted as a defendant in his official
capacity as Secretary of Health and Human Services.
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45 C.F.R. § 92 (the “Rule”). As previously described, Defendants are reevaluating the

reasonableness, necessity, and efficacy of the Rule that is challenged in this case and, as part of

that process, are assessing the issues identified by the District Court for the Northern District of

Texas in Franciscan Alliance, Inc. v. Burwell, Case No. 7:16-cv-108 (“Franciscan Alliance”),

when it granted a nationwide preliminary injunction that enjoins the same Rule that is challenged

here. Id., Docket No. 105 (July 10, 2017).

       A draft of a proposed rule is going through the clearance process within the Executive

Branch. Specifically, Defendants have engaged with the Department of Justice (“DOJ”) on a draft

of a proposed rule pursuant to Executive Order 12,250 (“Leadership and Coordination of

Nondiscrimination Laws”). Since the filing of the last status report, the Executive Order 12,250

process has been completed.

       The draft rule must go through an inter-agency clearance process managed by the Office

of Management and Budget (“OMB”) under Executive Order 12,866. Defendants anticipate that

after the clearance process is complete, the future rulemaking proceedings will involve notice and

comment. The time required to complete both the clearance process and notice and comment

rulemaking proceedings will depend largely on inter-agency coordination and on the public

comments on the proposed rule.

       Defendants request an opportunity to continue reconsidering the Rule and do not request

that the Court close this case. Meanwhile, Defendants will continue to abide by the nationwide

preliminary injunction that was ordered in Franciscan Alliance, which remains in full force and

effect, and Defendants will therefore not enforce the Rule’s prohibition against discrimination on

the basis of gender identity or termination of pregnancy. Thus, HHS is not currently contemplating

any enforcement actions pursuant to the Rule. And HHS has not referred or transferred a complaint




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that it has received under the Rule to the EEOC, nor has the EEOC received any referrals pursuant

to the Rule. Defendants therefore request that the Court maintain the stay in this case.



Dated: February 20, 2018                             Respectfully Submitted,

                                                     CHAD A. READLER
                                                     Principal Deputy Assistant Attorney General

                                                     JENNIFER D. RICKETTS
                                                     Director, Federal Programs Branch

                                                     JOEL McELVAIN
                                                     Assistant Director, Federal Programs Branch

                                                     /s/ Emily B. Nestler
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                                                     Counsel for Defendants




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 20, 2018, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.

                                                        /s/ Emily B. Nestler
                                                        EMILY B.NESTLER
